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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Ellen Rittenhouse, et al. JUDGE FALLON

Vv.

Merck & Co., Inc., et al. MAGISTRATE JUDGE KNOWLES

Docket No. 2:06-cv-01965

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ORDER OF DISMISSAL WITH PREJUDICE

Considering the foregoing Stipulation of Dismissal With Prejudice,

IT IS ORDERED that the claims of plaintiffs Ellen Rittenhouse and Robert Rittenhouse
in the above-captioned case be and they hereby are dismissed with prejudice with each party to
bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2011.

DISTRICT JUDGE
